                   Case 3:10-cr-00223-VAB                         Document 618           Filed 10/10/14          Page 1 of 4

LF 2450   (11/2013) Judgment in a Criminal Case for Revocations
          Sheet I



                                 UNITEDFS-T1\.TES DISTRICT COURT
                                   201~ OCT 10 ~rrct4J Connecticut
          UNITED STATES OF 1!&1BltiDA·• GT COURT                             JUDGMENT IN A CRIMINAL CASE
                              NEW H/4 VE~~, CT ·                             (For Revocation of Probation or Supervised Release)
                    v.

                                                                             Case Number:            0205 3:1 OCR00223-004
                      Anthony Ivory                                          USM Number: 20340-014

                                                                                                    Anthony David Collins
                                                                                                     Defendant's Attorney
THE DEFENDANT:
  0 admitted guilty to violation of condition(s) Mand. Cond. #1, Standard #11                                     of the term of supervision.
  D was found in violation of condition(s) _ __ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number                                                                                                                Violation Ended



              2               The defendant shall not commit another federal, state or local offense.                              07/20/2013

                              Tble d fendan bnll .noJ.tff rb -prdbl'!flo 1 off'ieer ~ithi n se en'o/~t.wo l'l11.mrs of being.
                              arresttl9 •· ·MCSJi0: b~ lww ~nfoJ# .men!.                                                    ·
                                                                     Check this box if you require additional space for more violation(s).[{]
      The defendant is sentenced as provided in pages 2. through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
  D The defendant has not violated condition(s)                      -----
                                                                                         and is discharged as to such violation(s) condition.

       It is ordered that the defendant must notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and
United States attorney of material changes in economic circumstances.

Defendant's Soc. Sec. No.: 5245                                                                  September 24, 2014
                                                                                            Date of Imposition of Judgment
Defendant's Date of Birth: 1985
                                      ---- - - - - --
Defendant's Residence Address:
147 Eastern Street                                                                        fo /
New Haven, CT 06511                                                                 ,'            Signature of Judge                   c
                                                                                              Honorable Ellen Bree Bums
                                                                                               Senior U.S. District Judge
                                                                                               Name and Title of Judge
                  Case 3:10-cr-00223-VAB                      Document 618   Filed 10/10/14   Page 2 of 4
AO 2450 (Rev. 11/2013) Judgment in a Criminal Case for Revocations                                     Judgment --Page 2 of 3
        Sheet lA

DEFENDANT:                   Anthony Ivory
CASE NUMBER:                 0205 3:10CR00223-004
                                              ADDITIONAL VIOLATIONS
                    Case 3:10-cr-00223-VAB                      Document 618    Filed 10/10/14      Page 3 of 4

AO 2450 (Rev. 11/2013) Judgment in a Criminal Case for Revocations                                           Judgment --Page 3 of 3
        Sheet 2 -- lm risonment

DEFENDANT:                   Anthony Ivory
CASE NUMBER:                 0205 3:10CR00223-004
                                                 IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of:
24 months




      D       The court makes the following recommendations to the Bureau of Prisons:




[{]          The defendant is remanded to the custody of the United States Marshal.
D            The defendant shall surrender to the United States Marshal for this district:

             D       at                        on
             D      as notified by the United States Marshal.
0            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      D         before 2 p.m. on
      0 .,       as notified by the United States Marshal.
      0          as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:




        Defendant delivered on --------------------- to -----------------------------------------
at                                                                      with a certified copy of this judgment.
     ------------------------------------------
                                                                                    UNITED STATES MARSHAL


                                                                               DEPUTY UNITED STATES MARSHAL
                  Case 3:10-cr-00223-VAB                       Document 618             Filed 10/10/14   Page 4 of 4

AO 2450 (Rev. ll/2013) Judmnenl in a Criminal Case Personalldenlitication Attachment

DEFENDANT:                    Anthony Ivory
CASE NUMBER:                  0205 3:10CR00223-004
DISTRICT:                     CONNECTICUT

                               Judgment in a Criminal Case Personal Identification Attachment
                                                 (Not for Public Disclosure)



The following unredacted personal identifiers are included with the judgment transmitted to the Attorney General
per 18 U.S .C. § 3612(b). A copy of this attachment shall also be provided to the attorney for the defendant, the
Probation and Pretrial Services Office, and the U.S. Sentencing Commission.

Pursuant to Rule 49.1 of the Federal Rules of Criminal Procedure, however, the personal data in this attachment
are not for public disclosure and must not be filed with the Clerk of the Court unless redacted or under seal, as
provided in the rule.




         Defendant's Soc. Sec. No.:                                                    5245
         Defendant's Date of Birth:                                                    1985
         Defendant's Residential Address:                    147 Eastern Street
                                                             New Haven, CT 06511




         Defendant's Mailing Address:
         (if different)
